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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY



   MATSUKAWA CO., LLC (n/k/a
   MATSUKAWA CO., LTD), individually         Case No. 2:20-cv-11366-ESK
   and on behalf of all others similarly
   situated,

                     Plaintiffs,

         v.

   BRASKEM S.A., ROBERTO LOPES
   PONTES SIMÕES, FERNANDO MUSA,
   and PEDRO VAN LANGENDONCK
   TEIXEIRA DE FREITAS,

                     Defendants.


          ORDER GRANTING UNOPPOSED MOTION FOR
          DISTRIBUTION OF CLASS SETTLEMENT FUND
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IT IS HEREBY ORDERED THAT:

        1.    Plaintiff’s Unopposed Motion for Distribution of Class Settlement

Fund (ECF No. 79) is GRANTED.

        2.    The funds that are currently in the Net Settlement Fund1 (less any

necessary amounts to be withheld for payment of tax liabilities and related fees and

expenses) shall be distributed on a pro rata basis to the Authorized Claimants as set

forth in the Declaration of Josephine Bravata Concerning the Distribution of the Net

Settlement Fund (“Bravata Declaration”). The funds shall be distributed pursuant

to the Stipulation and the Plan of Allocation of the Net Settlement Fund set forth in

the Notice of Pendency and Proposed Settlement of Class Action.

        3.    The Court finds that the administration of the Settlement and proposed

distribution of the Net Settlement Fund comply with the terms of the Stipulation

and the Plan of Allocation, and that all persons involved in the review, verification,

calculation, tabulation, or any other aspect of the processing of the claims submitted

herein, or otherwise involved in the administration or taxation of the Settlement

Fund or the Net Settlement Fund (including, but not limited to Plaintiffs’ Counsel

and Strategic Claims Services, the court-appointed Claims Administrator) are

released and discharged from any and all claims arising out of such involvement,



1
  Unless otherwise defined, capitalized terms herein have the same meanings attributed to
them in the Stipulation and Agreement of Settlement (the “Stipulation”).


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and all Class Members are barred from making any further claims against the Net

Settlement Fund or the Released Parties beyond the amount allocated to them

pursuant to this Order.

      4.     In order to encourage Settlement Class Members to cash their

distribution checks promptly, and to avoid or reduce future expenses relating to

unpaid distribution checks, all checks should bear the notation, “CASH

PROMPTLY, VOID AND SUBJECT TO RE-DISTRIBUTION 180 DAYS

AFTER ISSUE DATE.” Similarly, all other checks issued in connection with

subsequent distributions shall bear the same notation.

      5.     If any funds remain in the Net Settlement Fund by reason of uncashed

checks, or otherwise, after the Claims Administrator has made reasonable and

diligent efforts to have Settlement Class Members who are entitled to participate in

the distribution of the Net Settlement Fund cash their distribution checks, then any

balance remaining in the Net Settlement Fund six (6) months after the initial

distribution of such funds shall be used: (i) first, to pay any amounts mistakenly

omitted from the initial distribution to Claimants; (ii) second, to pay any additional

Administration Costs incurred in administering the Settlement; and (iii) finally, to

make a second distribution to Settlement Class Members who cashed their checks

from the initial distribution and who would receive at least $10.00 from such second

distribution, after payment of the estimated costs or fees to be incurred in


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administering the Net Settlement Fund and in making this second distribution, if

such second distribution is economically feasible. If six (6) months after such

second distribution, if undertaken, or if such second distribution is not undertaken,

any funds shall remain in the Net Settlement Fund after the Claims Administrator

has made reasonable and diligent efforts to have Settlement Class Members who

are entitled to participate in this Settlement cash their checks, any funds remaining

in the Net Settlement Fund shall be donated to the Consumer Federation of

America. See www.consumerfed.org.

      6.     Settlement Class Members who do not cash their distribution checks

within the time allotted will irrevocably forfeit all recovery from the Settlement

unless good cause is shown. The funds allocated to all such stale-dated checks will

be available for re-distribution to other Settlement Class Members in subsequent

distributions, if such distributions are determined to be economically feasible.

      7.     SCS is hereby ordered to destroy paper and electronic copies of

documents one (1) year after all funds have been distributed.

      8.     This Court retains jurisdiction over any further application or matter

which may arise in connection with this action.

      Dated: December 13, 2023              /s/ Edward S. Kiel
                                         _________________________
                                          Hon. Edward S. Kiel, U.S.M.J.




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